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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHAWN P. LAHEY,
                                    Plaintiff,                             19 CIVIL 5086 (BCM)

                 -against-                                                   JUDGMENT
ANDREW M. SAUL,
Commissioner of Social Security,
                                    Defendant.
--------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

set forth in the Court’s Order dated November 4, 2020, plaintiff’s motion for judgment on the

pleadings Dkt. No. 17 is denied, and the Commissioner’s motion for judgment on the pleadings

Dkt. No. 22 is granted; accordingly, the case is closed.

Dated: New York, New York
       November 5, 2020



                                                                      RUBY J. KRAJICK
                                                                   _________________________
                                                                         Clerk of Court
                                                             BY:
                                                                   _________________________
                                                                         Deputy Clerk
